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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT gy, WY 3,7
we

for the
Southern District of Texas
United States of America
Vv.
TREVIEN KAHLIL THOMAS

 

Defendant(s)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best-of my knowledge and belief.
On or about the date(s) of May 23 - 27, 2016 in the county of Harris in the
Southern District of Texas , the defendant(s) violated:

 

Code Section Offense Description
Title 18 USC 1591(a) Sex Trafficking of a Minor

This criminal complaint is based on these facts:

See attached Affidavit

@ Continued on the attached sheet.

 

CC

Complainant's signature

Adam Bock, Task Force Officer

Printed name and title

 

Sworn to before me and signed in my presence.

Date: 07/31/2019 ZF ——

Le Lf Judge ‘Signature
City and state: Houston, Texas ancy K. Johnson, Mnited States Magistrate Judge

Printed name and title

 

 
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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
I, Adam Bock, being duly sworn, depose and state:

1, I, Adam Bock, am a Detective with the Houston Police Department (HPD) and
Task Force Officer (TFO) assigned to the Federal Bureau of Investigation (FBI), duly appointed
according to law. I have been a police officer with HPD for 11 years and a TFO with the FBI
since 2018, and am currently assigned to the HPD Gang Division, with Title 21 and Title 18
federal deputation. As part of my duties as a TFO, I investigate criminal violations of federal
law, including violations of 18 U.S.C. § 1591(a) — Sex Trafficking of Children, defined as:

(a) Whoever knowingly—

(1) in or affecting interstate or foreign commerce, or within the special maritime and

territorial jurisdiction of the United States, recruits, entices, harbors, transports, provides,

obtains, advertises, maintains, patronizes, or solicits by any means a person; or

(2) benefits, financially or by receiving anything of value, from participation in a venture

which has engaged in an act described in violation of paragraph (1), knowing, or in

reckless disregard of the fact, that means of force, threats of force, fraud, coercion
described in subsection (e)(2), or any combination of such means will be used to cause
the person to engage in a commercial sex act, or that the person has not attained the age
of 18 years and will be caused to engage in a commercial sex act, shall be punished as

provided in subsection (b).

2. This Affidavit is made in support of a criminal complaint charging Trevien
THOMAS with violating 18 U.S.C. § 1591(a), which makes it a crime to traffic knowing that
means of force, threats of force, fraud or coercion will be used or that the person has not attained
the age of 18 and would be caused to engage in commercial sex. _

3. I have personally participated in the investigation set forth below. I am familiar
with the facts and circumstances of the investigation: through my personal participation; from

discussions with the other law enforcement agencies assigned to this investigation; from my

discussions with witnesses and suspects involved in the investigation; and from the review of

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records and reports relating to the investigation. Unless otherwise noted, wherever in this
affidavit I assert that a statement was made, the information was provided by another Law
Enforcement Officer or HPD investigator or witness who may have had either direct or hearsay
knowledge of that statement and to whom I or others have spoken with or whose reports I have
read. Such statements are among many statements made by others and are stated in substance
and in part unless otherwise indicated.

4. Because this affidavit is being submitted for the limited purpose of supporting of
a criminal complaint, I have not set forth each and every fact learned during the course of the
investigation. Rather, I have set forth only those facts that I believe are necessary to establish
probable cause that evidence of a violation of 18 U.S.C. § 1591(a) has been committed by
Trevien Kahlil THOMAS, B/M, DOB 11/17/1994, on or between May 23, 2016 through May
27, 2016. Where statements of others are set forth in this Affidavit, they are set forth in
substance and in part.

5. On July 1, 2016 I spoke with HPD Officer A. Colunga, who stated to me that on
May 28, 2016, he responded to a 911 call at the La Quinta Inn located at 930 Normandy Street,
Harris County, Texas. Upon arrival, Officer Colunga located the caller who he identified as MV1
(Minor Victim 1), a 14 year old female. MV1 stated to Officer Colunga that MV1 lived in
Dallas, Texas and was transported to Houston, Texas without MV1 °s consent. MV1 stated to
Officer Colunga that a few weeks prior, MV1 met two black males, including one named
“TRIGGAH,” who offered MV1 marijuana to smoke in their vehicle. MV1 stated that she got in
the vehicle with “TRIGGAH” and the second suspect and eventually fell asleep. MV1 stated that
after waking up MV 1 realized that “TRIGGAH” and the second suspect were transporting MV1

to Houston without MV1’s consent or knowledge. MV1 stated that upon arrival in Houston, the
 

 

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suspects traveled to a motel and told MV1 that they would kill MV1 if MV1 did not comply with
them. MV1 stated that both suspects were carrying pistols. .

6. MVI stated that over the course of six to eight days, MV1 was taken by
“TRIGGAH?” to four different motels and forced by threat of violence to remain inside each
motel room. MV1 stated that on May 27, 2016, MV1 was transported to a gas station next to the
Normandy Inn located at 12769 Nimitz Street, Harris County, Texas, by an unknown black male
who told MV1 to get out of the car upon arrival. MV1 stated that at the gas station, MV1 was
met by a Hispanic male driving a vehicle. MV1 got in the vehicle with the Hispanic male who
then drove into the parking lot of the Normandy Inn. After parking, the Hispanic male exited the
vehicle and entered motel room #120 and MV1 followed. MV1 stated that after entering the
room, the Hispanic male stated to MV1 “you know what you need to do”. MV1 then removed
her pants and laid down on the bed. The Hispanic male then sexually assaulted MVI1. MVI1
stated the next day, MV1 fled the motel room on foot after being left in the motel room alone.
MVI was able to locate a phone at a nearby business and call police.

7. After reviewing the facts of the case I served a Harris County Grand Jury
Subpoena to the Normandy Inn for transaction records related to room #120 on May 27, 2016.
During my review of the return I saw that only one person, a Hispanic male named Brandon
HARRIS with DOB 10/8/1992, had provided his Texas Driver’s License while renting room
#120 on the day of MV1’s described sexual assault.

8. On July 8, 2016 I spoke with Brandon HARRIS during a non-custodial recorded
interview at an HPD police station. During the interview, HARRIS Stated that he recently hired a
prostitute at the Normandy Inn and paid for the room. HARRIS stated that he arranged to meet

the prostitute through the online sex advertisement website Backpage.com and called the phone
 

 

 

 

 

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number listed on the advertisement. After arranging the commercial sex date, HARRIS drove to
a motel to pick the prostitute up in his vehicle. HARRIS stated that he recognized the person
HARRIS picked up as being the same individual as pictured in the Backpage.com advertisement.
HARRIS stated that he then drove the prostitute to the Normandy Inn located at 12769 Nimitz
Street, Harris County, Texas and rented a room. HARRIS stated that once inside the room with
the prostitute, HARRIS received oral sex from the prostitute and then left the location. At the
conclusion of the interview, HARRIS surrendered his cellular phone, which he stated he used to
call the phone number listed on Backpage.com. HARRIS then left the HPD police station.

9. On July 18, 2016 I received cellular records for phone number 713-449-0732,
which is the phone number assigned to HARRIS’ cellular phone, pursuant to a search warrant
obtained in Harris county, Texas. During my review of HARRIS? cellular records, I saw that on
May 27, 2016, HARRIS had multiple phone and text message transactions with phone number
832-792-9422. I then ran phone number 832-792-9422 through SPOTLIGHT, a national
cataloguing database which collects and aggregates online sexual advertisements and found
multiple Backpage.com advertisements featuring photographs of MVI1 during the time frame that
MV1 was in Houston. I saw that each advertisement listed a contact number of 832-792-9422.

10. On August 1, 2016, I received records from Backpage.com pursuant to a Harris
County Grand Jury Subpoena regarding advertisements listing céintact phone number 832-792-
9422. I saw that the email used to create the Backpage.com accciint was
Triggah YGMbang@yahoo.com.

11. On October 10, 2016 I received Facebook.com records for account ““YGM
Triggah Tre” pursuant to a search warrant obtained in Harris County. During my review of the

records, I saw that on three occasions, the owner of the profile sent a message stating that his
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email was TriggahYGMbang@yahoo.com. I also saw that the owner of the profile sent a large
number of photographs of himself, who I identified as Trevien Kahlil THOMAS, B/M, DOB
11/17/1994, by comparing the photographs with Harris County booking photographs. I further
saw that the owner of the profile engaged in multiple conversations about going to Dallas and
being in Dallas in during the timeframe in which MV1 was transported from Dallas to Houston
by “TRIGGAH.” In these conversations, the profile owner describes what he’s doing as
prostitution.

12. On February 1, 2017, I spoke with Detective B. Fassett of the Dallas Police
Department. Detective Fassett stated to me that MV1 had been taken into custody as a runaway
and during an interview with MV1, MV1 identified a picture of Trevien Kahlil THOMAS, B/M,
DOB 11/17/1994 as “TRIGGAH”, who had driven MV1 to Houston and forced MV] to perform
sex acts for money.

13. | On August 23, 2017, THOMAS was taken into custody pursuant to multiple
Harris County Felony Warrants related to this investigation. During apprehension, THOMAS
requested that he be allowed to speak with me and stated that he had been looking for me in
order to talk. I was then connected to THOMAS by the Officers on-scene and learned from
THOMAS that he wished to give me information. J told THOMAS that I would be willing to
speak with him with his attorney present. THOMAS then made the following un-solicited res
gestae statement which was recorded on body camera: “...But listen I’m telling you, it’s bigger,
like, it’s my uncle, bro, I went down there to go meet my uncle and a DJ... and the DJ dude and
my uncle was like shit you wanna make some extra money? How bout I pay you five hundred,
drop this girl back off in Houston. Shit they knew I was from Houston, they knew I was a rapper,

{Unintelligeible} cool, I just had my daughter. So I brung her back out here...”
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14. Based upon the information delineated above, I believe that probable cause exists
for the issuance of a Criminal Complaint charging Trevien THOMAS with a violation of 18

U.S.C. § 1591(a) — Sex Trafficking of MV1, a child.

LEK.

Adam Bock
Task Force Officer
Federal Bureau of Investigation

Subscribed and sworn before me on this 31% day of July 2019;and I find probable cause.
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THEA OBABLE ANCY K. JOHNSON
UNIPED STATES MAGISTRATE JUDGE

 
